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12                                      UNITED STATES DISTRICT COURT
13                                     EASTERN DISTRICT OF CALIFORNIA
14                                           BAKERSFIELD DIVISION
15

16   BIRD GARD LLC, an Oregon limited liability       )   Case No.
     company; and BIRD-X, INC., an Illinois           )
17   corporation,                                     )
                                                      )   COMPLAINT FOR TRADE DRESS,
18                    Plaintiffs,                     )   TRADEMARK AND COPYRIGHT
                                                      )   INFRINGEMENT
19                    v.                              )
                                                      )   DEMAND FOR JURY TRIAL
20   SC ELITE, LTD., a Chinese corporation; and       )
     NINGBO ELITE ELECTRONIC                          )   Dept.:
21   TECHNOLOGY CO., LTD., a Chinese                  )
     corporation,                                     )
22                                                    )
                                     Defendants.      )
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     COMPLAINT
     DWT 19783480v3 0096039-000001
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 1           Plaintiffs Bird Gard LLC (“Bird Gard”) and Bird-X, Inc. (“Bird-X”), by and through their

 2   undersigned counsel, respectfully make the following allegations for their Complaint against

 3   Defendants SC Elite, Ltd. (“SC Elite”) and Ningbo Elite Electronic Technology Co., Ltd. (“Ningbo

 4   Elite”). These allegations are made upon knowledge with respect to Bird Gard’s own acts, and

 5   upon information and belief as to all other matters.

 6                                              INTRODUCTION

 7           1.       For more than 20 years Bird Gard has been designing, manufacturing, and marketing

 8   a complete line of electronic devices to repel birds from crops, orchards, barns, airports, marinas,

 9   homes, and the like. Bird Gard’s products play recordings of distressed and alarmed birds, along

10   with sounds made by the natural predators of those birds, through high fidelity weather-resistant

11   speakers. These sounds trigger a primal fear and flee response in the pest birds, which soon

12   relocate to areas where they can feed without feeling threatened. Twenty-five years of research and

13   development and bird repellent technology have made Bird Gard the world leader in electronic bird

14   control. University trials and extensive field testing have proven Bird Gard products to be highly

15   effective at safely and humanely controlling pest birds.

16           2.       Rather than undertake the effort of developing their own bird repellent products,

17   Defendants SC Elite and Ningbo Elite have simply copied Bird Gard’s products, duplicating them

18   in all material respects, including their appearance, the sounds they emit, the circuit boards within

19   them, and the brochures that are enclosed with them, and then sold those products under trademarks

20   that are confusingly similar to those of Bird-X, which sells some products manufactured by Bird

21   Gard. By so doing, Defendants seek to trade on Plaintiffs’ hard-won success with these bird

22   repellent products, confuse consumers as to the source of Defendants’ products, and unlawfully

23   copy Bird Gard’s copyrighted works.

24                                                   PARTIES

25           3.       Plaintiff Bird Gard LLC is an Oregon limited liability company with its principal

26   place of business in Sisters, Oregon.

27           4.       Plaintiff Bird-X, Inc. is an Illinois corporation with its principal place of business in

28   Chicago, Illinois.

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 1           5.       Defendant SC Elite, Ltd. is a Chinese corporation with its principal place of business

 2   in Guang Uyan, Sichuan, China.

 3           6.       Defendant Ningbo Elite Electronic Technology Co., Ltd. is a Chinese corporation

 4   with its principal place of business in Ningbo, Zhejiang, China.

 5                                      JURISDICTION AND VENUE

 6           7.       This Court has subject matter jurisdiction over this action pursuant to 15 U.S.C.

 7   § 1121(a) and 28 U.S.C. § 1338(a) because it arises under acts of Congress relating to copyrights

 8   and trademarks. In addition, this Court has subject matter jurisdiction over claims asserted under

 9   California law because they are related to Bird Gard’s claims for copyright and trademark

10   infringement and therefore fall within the scope of this Court’s supplemental jurisdiction under

11   28 U.S.C. §§ 1338(b) and 1367. Finally, jurisdiction is proper under 28 U.S.C. § 1332 because this

12   action is between citizens of States and citizens or subjects of a foreign state and the matter in

13   controversy exceeds the sum or value of $75,000, exclusive of interest and costs.

14           8.       Defendants are subject to personal jurisdiction in this Court because they have

15   shipped infringing goods into this judicial district.

16           9.       Venue is proper in this district pursuant to 28 U.S.C. § 1391(b)(2).

17                                            PLAINTIFFS’ RIGHTS

18           10.      Bird Gard is the world leader in electronic bird repellent devices, and manufactures

19   and sells a variety of those products.

20           11.      Bird-X sells a wide range of pest and bird control solutions throughout the world,

21   and is Bird Gard’s distributor in certain non-agricultural U.S. and foreign markets.

22           12.      Bird Gard marks the products it manufactures with, and sells them under, the BIRD

23   GARD trademark. Bird Gard also marks a number of those same products with Bird-X’s

24   trademarks, including BIRD-X, BIRD-X-PELLER, and BROADBAND PRO, rather than with the

25   BIRD GARD trademark. The trade dress of the products marked with the BIRD-X or BIRD-X-

26   PELLER marks, however, is identical or nearly identical to the trade dress of the products that Bird

27   Gard marks with the BIRD GARD trademark.

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 1             13.    Since at least as early as 2003, Bird Gard, and its predecessors in interest have

 2   continuously used a consistent trade dress for its products. This trade dress (the “Bird Gard Trade

 3   Dress”) consists, among other things, of the following elements: (a) the speaker and the casing

 4   within which it is enclosed; (b) the clear plastic door covering the control panel; and (c) the layout

 5   of the controls and text on the control panel.

 6             14.    One of the elements of the Bird Gard Trade Dress consists of the design of the

 7   speaker cases. The speaker cases in the Bird Gard Trade Dress have a horizontal design element.

 8   In the Bird Gard PRO device, and the analogous product sold to Bird-X, the BirdXpeller PRO, the

 9   horizontal design element consists of 11 horizontal ridges that run from the top to the bottom of the

10   speaker case. Images of these products are attached as Exhibit A. In the Bird Gard PRO and

11   BirdXpeller PRO products, the speaker cases are joined with the control panel into one unitary

12   device.

13             15.    Other Bird Gard products -- the Bird Gard PRO PLUS and Bird Gard SUPER PRO -

14   - have several detached speakers. Identical detached speakers are included with several products

15   that Bird Gard manufactures and marks with the BIRD-X or BIRD-X-PELLER marks: the

16   BroadBand PRO, the Super BirdXPeller PRO, and the Ultrason X. Images of these five products

17   sold with detached speakers are attached as Exhibit B. These speakers also have green speaker

18   cases, but the horizontal design element of the speaker case is slightly different, consisting of four

19   horizontal indentations that are in the top half of the case. An image of one of these detached

20   speakers is attached as Exhibit C.

21             16.    Another element of the Bird Gard Trade Dress is the clear plastic door that covers

22   the control panel for each of the devices. Each of these doors has a border consisting of several

23   evenly spaced ridges along the top, bottom, and sides of the door. In the Bird Gard PRO and

24   BirdXpeller PRO products, the door has ten evenly spaced vertically-oriented ridges along the top

25   and the bottom of the door and seven evenly spaced horizontally-oriented ridges along its left and

26   right sides. These ridges are visible in the products shown in Exhibit A. In the Bird Gard products

27   that are sold with detached speakers (listed in Paragraph 15 above), the door to the control panel

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 1   has seven ridges along each of its four sides. These ridges are visible in the products shown in

 2   Exhibit B.

 3           17.      Another element of the Bird Gard Trade Dress consists of the locations of the

 4   switches and graphics on the control panels for the products. These include a volume switch, an

 5   on/off switch, switches to activate various sound recordings, and a mode setting graphic. These

 6   layouts are visible in the products shown in Exhibits A and B.

 7           18.      Bird Gard has been selling products containing the Bird Gard Trade Dress in

 8   interstate commerce since at least as early as 2003. In addition, Bird Gard and Bird-X have

 9   advertised products with the Bird Gard Trade Dress since at least as early as 2003 in industry trade

10   publications, through direct mail campaigns, and on the websites of Bird Gard and Bird-X as well

11   as those of numerous Bird Gard distributors around the world. Products using the Bird Gard Trade

12   Dress have received substantial press coverage and have been depicted in magazine articles,

13   including ones in the following publications: Wine Business Monthly, Vineyard and Winery

14   Management, Growing Magazine, Good Fruit Grower, Pecan South, and Dairy Business. As a

15   result of Bird Gard’s long use of the Bird Gard Trade Dress, its substantial sales of products with

16   that trade dress, advertising by it and Bird-X of products bearing the Bird Gard Trade Dress, and

17   third-party press coverage of products using that trade dress, the Bird Gard Trade Dress has

18   acquired distinctiveness. Customers recognize and associate it with the source of Bird Gard

19   products.

20           19.      The Bird Gard Trade Dress is nonfunctional.

21           20.      Bird-X is the owner of a United States Trademark Registration for the mark BIRD-

22   X-PELLER: U.S. Trademark Registration No. 1,987,462, issued July 16, 1996, for a sound device

23   that repels pest birds by broadcasting a recording of these birds' own stress calls, in International

24   Class 9. U.S. Trademark Registration No. 1,987,462 is now incontestable and thus is conclusive

25   evidence pursuant to 15 U.S.C. § 1115(b) that the BIRD-X-PELLER mark is valid and that Bird-X

26   owns the mark and has the exclusive right to use it. A true and correct copy of the registration is

27   attached as Exhibit D.

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 1           21.      Bird-X also has common law trademark rights in the term BROADBAND PRO,

 2   which it has used in connection with the sale of electronic bird repellers in interstate commerce

 3   since at least as early as August 2002.

 4           22.      Many of Bird Gard’s products have a solid state erasable programmable read-only

 5   memory microchip (“EPROM” for short) containing recordings of bird distress calls and predator

 6   sounds. Each Bird Gard product unit comes with at least one EPROM containing eight sounds

 7   matched to the birds selected by the customer. Bird Gard offers over 100 EPROMS for its

 8   products, each containing different compilations of eight bird distress calls and predator sounds.

 9   Customers select the EPROMs they wish to use based on the birds they wish to repel.

10           23.      Each of Bird Gard’s EPROMs contains a compilation of sound recordings that is an

11   original work of authorship fixed in a tangible medium of expression and is protected by copyright

12   pursuant to 17 U.S.C. §§ 102 and 103. The compilations in Bird Gard’s EPROMs were created by

13   Bird Gard employees within the scope of their employment. Pursuant to 17 U.S.C. § 201(a) and

14   (b), therefore, initial ownership of the copyrights in the EPROM compilations vested initially in

15   Bird Gard. Bird Gard has not transferred ownership of its copyrights in the EPROM compilations,

16   in whole or in part, to any other person.

17           24.      Bird Gard has applied to the United States Copyright Office to register its claim to

18   copyright in the sound recording compilations at issue in this action. The Copyright Office has

19   issued registrations for five of these sound recording compilations, and registrations are expected to

20   issue soon on the remaining applications. The sound recording compilations for which Bird Gard

21   has applied to register copyright include:

22   Name of Work                                  Registration No.                  Date
23   Bird Gard Sound Recording Bird-X #1           SR 697-011                        3/27/2012
     Bird Gard Sound Recording #35                 SR 697-010                        3/27/2012
24   Bird Gard Sound Recording #69                 SR 697-009                        3/27/2012
     Bird Gard Sound Recording #71                 SR 697-012                        3/27/2012
25   Bird Gard Sound Recording #1                  SR 698-279                        3/21/2012
26   Bird Gard Sound Recording #2                  application pending
     Bird Gard Sound Recording #87                 application pending
27   Bird Gard Sound Recording #84                 application pending
     Bird Gard Sound Recording #13                 application pending
28   Bird Gard Sound Recording #23                 application pending

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 1   Name of Work                                   Registration No.                  Date
     Bird Gard Sound Recording #7                   application pending
 2   Bird Gard Sound Recording #20                  application pending
 3   Bird Gard Sound Recording #12                  application pending
     Bird Gard Sound Recording #34                  application pending
 4   Bird Gard Sound Recording #11                  application pending
     Bird Gard Sound Recording #42                  application pending
 5   Bird Gard Sound Recording #10                  application pending
 6   Bird Gard Sound Recording #70                  application pending
     Bird Gard Sound Recording PA #19               application pending
 7   Bird Gard Sound Recording PA #12               application pending
     Bird Gard Sound Recording PA #23               application pending
 8   Bird Gard Sound Recording PA #11               application pending
 9   Bird Gard Sound Recording PA #13               application pending
     Bird Gard Sound Recording PA #15               application pending
10   Bird Gard Sound Recording Bird-X               application pending
     BillBoard Pro
11

12                                   DEFENDANTS’ INFRINGING CONDUCT
13           25.      Defendants have copied Bird Gard’s products in virtually every respect, including
14   the Bird Gard Trade Dress and the sound recording compilations contained on many of Bird Gard’s
15   EPROMs. Defendants have even copied the circuit boards contained inside Bird Gard’s products,
16   and the brochures explaining how to use the products.
17           26.      Specifically, Defendants are selling and offering to sell at least the following
18   products that are virtual exact copies of the Bird Gard products. Side by side comparisons of these
19   products are attached as Exhibits E through H.
20   Bird Gard Product(s)                                          Defendants’ Product              Exhibit
21   Bird Gard PRO, BirdXPeller PRO                                Bird Peller PRO                  D
     Bird Gard Super PRO, Bird-X Super BirdXPeller PRO             Super Bird Peller PRO            E
22   Bird-X BroadBand PRO                                          BroadBand PRO                    F
     Bird-X UltrasonX                                              Ultrasonic Bird Repeller         G
23
             27.      Defendants’ sale and offering for sale of their near-exact copies of Bird Gard’s
24
     products is likely to cause confusion among customers of Bird Gard’s products and to cause them
25
     to purchase Defendants’ products with the mistaken belief that the product was manufactured,
26
     endorsed, or otherwise connected with Bird Gard.
27

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 1           28.      Defendants are selling some of their products under trademarks that are confusingly

 2   similar to Bird-X’s BIRD-X-PELLER and BROADBAND PRO marks, namely BIRD PELLER

 3   PRO, SUPER BIRD PELLER PRO, and BROADBAND PRO.

 4           29.      Defendants’ sale and offering for sale of goods under the trademarks BIRD

 5   PELLER PRO, SUPER BIRD PELLER PRO, and BROADBAND PRO is likely to cause

 6   confusion among customers of the products Bird-X sells under its BIRD-X-PELLER and

 7   BROADBAND PRO marks and to cause such customers to purchase Defendants’ products with the

 8   mistaken belief that the product was manufactured, endorsed, or otherwise connected with Bird-X.

 9           30.      Defendants have copied the sound recording compilations on various Bird Gard

10   EPROMs, including at least the ones identified in paragraph 24 above, and are selling and offering

11   to sell them in connection with their infringing products.

12                                       FIRST CLAIM FOR RELIEF

13                                   FALSE DESIGNATION OF ORIGIN

14                                            (15 U.S.C. § 1125(a))

15           31.      Plaintiffs repeat and reallege the allegations of paragraphs 1 through 30 as if fully

16   set forth herein.

17           32.      Defendants’ copying of Bird Gard’s trade dress and their use of the BIRD PELLER

18   PRO, SUPER BIRD PELLER PRO, and BROADBAND PRO marks constitute a false designation

19   of origin and false or misleading representations of fact in violation of 15 U.S.C. § 1125(a).

20                                     SECOND CLAIM FOR RELIEF

21                                     TRADEMARK INFRINGEMENT

22                                              (15 U.S.C. § 1114)

23           33.      Bird-X repeats and realleges the allegations of paragraphs 1 through 32 as if fully set

24   forth herein.

25           34.      Defendants’ use of the BIRD PELLER PRO, SUPER BIRD PELLER PRO, and

26   BROADBAND PRO marks constitutes trademark infringement in violation of the Lanham Act,

27   15 U.S.C. § 1114.

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 1                                     SECOND CLAIM FOR RELIEF

 2                          TRADE DRESS AND TRADEMARK INFRINGEMENT

 3                                     (CALIFORNIA COMMON LAW)

 4           35.      Plaintiffs repeat and reallege the allegations of paragraphs 1 through 34 as if fully

 5   set forth herein.

 6           36.      Defendants’ copying of Bird Gard’s trade dress and their use of the BIRD PELLER

 7   PRO, SUPER BIRD PELLER PRO, and BROADBAND PRO marks constitute a violation of Bird

 8   Gard’s trade dress rights and unfair competition under the common law of the State of California.

 9                                           THIRD CLAIM FOR RELIEF

10                          VIOLATION OF CAL. BUS. & PROF. CODE § 17200 ET SEQ.

11           37.      Plaintiffs repeat and reallege the allegations of paragraphs 1 through 36 as if fully

12   set forth herein.

13           38.      California Business & Professions Code section 17200 et seq. prohibits any

14   unlawful, unfair or fraudulent business act practice.

15           39.      Defendants’ copying of Bird Gard’s trade dress and their use of the BIRD PELLER

16   PRO, SUPER BIRD PELLER PRO, and BROADBAND PRO marks constitute unfair methods of

17   competition, unlawful, unfair or fraudulent business acts or practices, in violation of California

18   Business and Professions Code section 17200 et seq.

19           40.      Defendants have willfully engaged in said acts or practices for their own commercial

20   advantage knowing full well that those acts and practices were unlawful, unfair, or fraudulent.

21           41.      The unlawful, unfair, and fraudulent business acts and practices of Defendants are

22   continuing and will continue, to mislead the public.

23                                     FOURTH CLAIM FOR RELIEF

24                                      COPYRIGHT INRINGEMENT

25                                               (17 U.S.C. § 501)

26           42.      Bird Gard repeats and realleges the allegations of paragraphs 1 through 41 as if fully

27   set forth herein.

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 1           43.      Pursuant to 17 U.S.C. § 106, Bird Gard has the exclusive right to reproduce copies

 2   of its sound recording compilations in copies, and to distribute copies of those compilations to the

 3   public by sale or other transfer of ownership.

 4           44.      The EPROMs in Defendants’ products are copies of the Bird Gard sound recording

 5   compilations. By making copies of those sound recording compilations, and selling those copies,

 6   Defendants have committed copyright infringement in violation of 17 U.S.C. § 501(a).

 7                                           JURY TRIAL DEMAND

 8           Plaintiffs hereby demand a trial by jury of all issues so triable.

 9                                           PRAYER FOR RELIEF

10           WHEREFORE, Plaintiffs pray for relief as follows:

11           (1)      That Defendants, their agents, servants, employees and all persons acting under

12   their permission and authority, be enjoined and restrained from

13                    a. Copying, performing, or distributing Bird Gard’s sound recording compilations;

14                    b. using the BIRD-X-PELLER and BROADBAND PRO trademarks or any other

15                         trademarks confusingly similar thereto (including but not limited to BIRD

16                         PELLER PRO and SUPER BIRD PELLER PRO) in any manner, including

17                         through selling or offering to sell products under such trademarks; and

18                    c. using the Bird Gard Trade Dress or any other trade dress confusingly similar

19                         thereto in any manner, including through selling or offering to sell products

20                         containing such trade dress;

21           (2)      That the Court order Defendants to deliver to Bird Gard for destruction

22                    a. all copies of sound recordings found to have been made or used in violation of

23                         Bird Gard’s exclusive rights, and all plates, molds, matrices, masters, tapes,

24                         film negatives, or other articles by means of which such copies may be

25                         reproduced, pursuant to 17 U.S.C. § 504; and

26                    b. all goods, signs, advertisements, literature, business forms, cards, labels,

27                         packages, wrappers, pamphlets, brochures, receptacles, and any other written or

28                         printed material in their possession or under their control which contain,

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 1                         encompass or depict the Bird Gard Trade Dress, or any colorable imitations

 2                         thereof or any trade dress confusingly similar thereto;

 3           (3)      That the Court order Defendants to deliver to Bird-X for destruction all goods,

 4   signs, advertisements, literature, business forms, cards, labels, packages, wrappers, pamphlets,

 5   brochures, receptacles, and any other written or printed material in their possession or under their

 6   control which contain the BIRD-X-PELLER and BROADBAND PRO trademarks or any other

 7   trademarks confusingly similar thereto (including but not limited to BIRD PELLER PRO and

 8   SUPER BIRD PELLER PRO);

 9           (4)      That the Court order Defendants to provide confirmation to Plaintiffs and the Court

10   concerning its compliance with the injunction and order of destruction;

11           (5)      That judgment be entered against Defendants for damages sustained by Bird Gard

12   and profits generated by Defendants as a result of the acts complained of herein pursuant to federal

13   and state law, to be trebled in accordance with 15 U.S.C. § 1117;

14           (6)      That the Court allow the recovery of full costs and attorneys’ fees incurred by Bird

15   Gard;

16           (7)      That Bird Gard have such other and further relief as is just and equitable.

17   DATED: August 8, 2012                             DAVIS WRIGHT TREMAINE LLP
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